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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

 LONE STAR TECHNOLOGICAL           §
 INNOVATIONS, LLC,                 §
                                   §   Civil Action No. 6:19-cv-00059-RWS
       Plaintiff,                  §
                                   §             LEAD CASE
               v.                  §
                                   §
 ASUSTEK COMPUTER, INC.            §
                                   §
       Defendant.                  §
                                   §

         PLAINTIFF LONE STAR TECHNOLOGICAL INNOVATION, LLC’S
           REPLY TO DEFENDANT’S CLAIM CONSTRUCTION BRIEF
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         Plaintiff Lone Star files this reply brief in order to address a number of arguments made by

Defendants in their Responsive Claim Construction Brief (“Response”) (Dkt. 88).


                                        I.       PLAINTIFF’S REPLY

         Defendants’ incorrect constructions and invalidity arguments, as detailed below, suffer

from three primary deficiencies: (1) Defendants either ignore the specification or take it out of

context; (2) rely on conclusory testimony of an expert; and (3) provide analogies that are not

germane to the issue or supported by the intrinsic or extrinsic record.

         A.       “INDIVIDUAL COLOR”

         Plaintiff’s proposed construction of “individual color” is consistent with the specification

and the Court’s prior proposed construction. ’435 Patent, 1:19-22; Document 84-2. Defendants’

argument lacks support from the intrinsic record and utilizes information that may or may not be

part of its extrinsic sources.1 Defendants chose not to submit a technology tutorial and appear to

improperly include one in their responsive brief. Response at 3-6. The substance of Defendants’

argument is also disconcerting in that it displays a misunderstanding of how the patented invention

operates. The ‘435 is clear that each input image pixel is scanned to identify the plurality of input

images pixels having the individual color whose hue or saturation was selected to be changed.

‘435, Col. 10, lns. 9-24. Of particular note, the ‘435 patent specification describes the preferred

embodiment by a formula consistent with Plaintiff’s construction:




1
 Defendants include several pages of text, figures, and tables without any citation leaving Plaintiff without the
ability to verify the accuracy, authenticity or admissibility of such information.
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‘435 Patent, 10:25-32.     The formula of the preferred embodiment identifies image pixels

containing “the individual color…whose hue or saturation was selected to be independently

changed.” ‘435 patent, 10:18-20. Further, the equation referenced in the last two lines shown

above contains a set of consistent inequalities; each said set of consistent inequalities defined for

selecting an individual color red. Id. These intrinsic disclosures are contrary to Defendants’

contention that “[h]owever, when read in the context of the whole patent and the definition of

“individual color,” it is apparent that “case 1” refers to the linear combination (255, 0, 0), rather

than the “individual basic color” (a.k.a. “color component”) named red. “Thus, “individual color”

refers to “a linear” “combination of colors or color components,” not to an “individual basic color”

or “color” “component.” Response at 8. Defendants’ statement is inconsistent with the patent and

compounds the error of utilizing its unidentified extrinsic information instead of the plain language

of the ‘435 Patent. As shown below, each input image pixel has color or color components

represented by the terms Rin, Gin, and Bin.




       Col. 7, Lns. 1-7.




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Moreover, the equation shown above illustrates that if a pixel value contains enough red, then the

pixel contains the individual color to be changed. Therefore, individual colors are expressed in

terms of and evaluated from linear combinations of the color or color components, including for

example “red.” Col. 7, Lns. 7-14.

       B.       “CHARACTERIZING”

       Defendants have not met their burden to show by clear and convincing evidence that

“characterizing” fails to inform one skilled in the art about the scope of the invention with

reasonable certainty.” Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 910 (2014). Despite

Defendants’ assertions and their expert’s conclusory statements, the term “characterizing” is not

indefinite and the specification, including the claims, provides more than sufficient guidance to

inform a PHOSITA as to its scope. Defendants’ expert’s testimony should be accorded no weight

because his declaration fails to meet the requirements of Federal Rule of Civil Procedure 26(b)(i)-

(ii) let alone meeting the high burden required to invalidate a patent. Defendants’ primary

argument is that it is unclear what “characterizing a real-time digital video input image” means.

Response at 20. This ignores Plaintiff’s opening claim construction brief and its citations,

particularly:




       Col. 6, Lns. 40 – 50.



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       Column 6 continues discussing how the digital video input image, represented by the

variable “I” is “characterized” according to Step(a). Col. 6, Lns. 47 – 57. Further, “for RGB color

space, I[i, jj: Rin, Gin, Bin,] represents each of a plurality of input image pixels of the real time

digital video input image, I, which can be plotted in an input grid of a real time digital video image

display device, whose position coordinates in the input grid are indicated by row i, and column j.”

Col. 6, Lns. 58-63. Even in light of this clear description, Defendants make the erroneous

statement that the specification links “characterizing” to “colors or color components,” not to a

“real time digital video image.” Response at 20. This is in clear contradiction to the disclosure,

as displayed above, in column 6, lns. 40-67 and column 7, lns. 1-14, which details how a real time

digital video input image is “characterized.”

       C.      “WITHOUT AFFECTING          THE   HUE    OR THE     SATURATION      OF   ANY OTHER
               INDIVIDUAL COLOR”

       Plaintiff’s proposed construction is supported by the intrinsic evidence and also the same

as identified in this Court’s Prior Proposed Constructions.        Document 84-2 at 3.        Despite

Defendants’ argument to the contrary, it follows logically that because an “individual color” is

required to be capable of being selected, then “other individual color” must also mean that which

is capable of being selected but was not selected. Defendants’ argument uses examples of software

programs and logos, which are inapplicable and are subject to different governing principles.

       D.      “ARBITRARY INTERVAL OF INTEGERS”

       With regard to the term, “arbitrary interval of integers,” Defendants argue that the term

should not be construed as “a range between two whole numbers” and tries to distinguish it from

an interval. Response at 27. But the ‘435 patent specification discusses this very notion: “an

extent or magnitude of change in hue or saturation, respectively of a selected individual

color…represent a finite increment…within respective ranges of hue and saturation…Without




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going into details of color theory and applications thereof, which are well known to those skilled

in the art of video imaging and video image processing…” ‘435 patent, 8:53-67 (emphasis added).

In other words, a skilled artisan knows the acceptable range of control for hue or saturation. Claims

5 and 21 further elaborate on this concept and teach that it can be any whole number (arbitrary)

within such an acceptable range.

       E.      “VIEWER”

       Defendants’ purport to analyze this term in the context of the claim 17 discussion.

Defendants, however, have not met their burden to show that the term “viewer” is necessarily a

human or that it is indefinite as discussed in 1.F below.

       F.      “AS APPLIED TO CLAIM 17: THE COMBINATION OF METHOD STEPS AND SYSTEM
               ELEMENTS IN A SINGLE CLAIM: OPERATING SAID MASTER CONTROL DEVICE…;
               SELECTING AN INDEPENDENT COLOR HUE CONTROL DELTA VALUE OR AN
               INDEPENDENT COLOR SATURATION CONTROL DELTA VALUE . . .; IDENTIFYING A
               PLURALITY OF SAID INPUT IMAGE PIXELS . . .;DETERMINING CORRESPONDING
               OUTPUT IMAGE PIXEL VALUES…; DISPLAYING A REAL TIME DIGITAL VIDEO
               OUTPUT IMAGE…

       Defendants’ have not met their burden to show that Claim 17 is indefinite. Claim 17

describes a system with functional capabilities that are tied to specific structures, and does not

claim using the system as Defendants argue. As in Yodlee, Claim 17 describes what happens (i.e.

the systems functional capabilities) after operating the master control device, and does not patent

operating the master control device. Yodlee, Inc. v. CashEdge, Inc., No. 05–01550, 2006 WL

3456610, at *4–6 (N.D. Cal. Nov. 29, 2006). Infringement occurs when a device having the

capability of performing such functionality is manufactured or sold.

       Further, the cases cited by Defendants are distinguishable. Defendants’ citation of Ariba,

Inc. v. Emptoris, Inc., is inapplicable as the court explained that this was not a situation where a

device was claimed, but the step in question was operated by a different computer. Ariba, Inc. v.

Emptoris, Inc., 2008 WL 3482521, at *8 (E.D. Tex. Aug. 7, 2008), aff’d, No. 2009-1230, 2010


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 WL 55625 (Fed. Cir. Jan. 8, 2010). Here, the functional steps are all functions describing the

 claimed system. Additionally, Rembrandt is distinguishable as the functional language does not

 appear in isolation or at the end of the claim, but is specifically tied to structure, i.e. the “master

 control device” is used “for selecting to independently change the hue or the saturation of an

 individual color.” ‘435 Patent, Claim 17; see also MasterMine Software, Inc. v. Microsoft Corp.,

 874 F.3d 1307, 1315-16 (Fed. Cir. 2017) (finding no indefiniteness because “[t]hough claim 8

 includes active verbs—presents, receives, and generates—these verbs represent permissible

 functional language used to describe capabilities of the ‘reporting module’”); Rembrandt Data

 Techs., LP v. AOL, LLC, 641 F.3d 1331 (Fed. Cir. 2011).

        Moreover, Defendants fail to address why viewer could not be additional structure for the

 user / human to control or explain why the specification requires the viewer to be a human. The

 user and the viewer cannot be seen as the same human operator of the device because the

 specification treats the two as distinct entities. Nothing cited by Defendants supports the notion

 that the user and the viewer are both the human operator. Further, the specific embodiment of a

 user (not the claimed viewer) pushing or turning a button or dial should not be read into the claims.

 “Particular embodiments and examples appearing in the specification will not generally be read

 into the claims.” Comark Commc’ns, Inc. v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir. 1998)

 (quoting Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir. 1988)).

        Here, the Court must presume that the claims are valid unless Defendants presents clear

 and convincing evidence that a person having ordinary skill in the art could not reasonably

 determine the scope of the claims at issue. See U.S. Gypsum Co. v. Nat’l Gypsum Co., 74 F.3d

 1209, 1212 (Fed. Cir. 1996); Shatterproof Glass Corp. v. Libbey-Owens Ford Co., 758 F.2d 613,

 624 (Fed. Cir. 1985); Aloft Media, LLC v. Microsoft Corp., No. 6:08-CV-50, 2009 WL 10677424,




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 at *5 (E.D. Tex. Mar. 24, 2009) (Unlike Ariba, the parties have not agreed that these claims require

 the action of a user outside the claimed system for infringement to occur). Rather, like many cases

 that have upheld the validity of claims, the language at issue describes the capabilities of the

 claimed inventions. See Yodlee, 2006 WL 3456610 at *4-6; Toshiba Corp. v. Juniper Networks,

 Inc., CIV. 03-1035-SLR, 2006 WL 1788479, at *4 (D. Del. June 28, 2006); Duhn Oil Tool, Inc. v.

 Cooper Cameron Corp., 474 F. Supp. 2d 1148, 1164 (E.D. Cal. 2007).

        Finally, even if the Court rejects Lone Star’s position on “viewer”, Claim 17 does not claim

 activities performed by the user, but the claimed system’s capability to received and respond to

 user selection. See Freeny v. Fossil Grp., Inc., No. 218CV00049JRGRSP, 2019 WL 2078783, at

 *24 (E.D. Tex. May 10, 2019). Claim 17 describes the ability of the system to receive input from

 a user and denotes the system’s response capabilities. Claim 17 is thus distinguishable from the

 claims in IPXL requiring “the user uses the input means”. IPXL Holdings, L.L.C. v. Amazon.com,

 Inc., 430 F.3d 1377, 1384 (Fed. Cir. 2005). Claim 17 is also distinguishable from In re Katz

 requiring “wherein … callers provide … data.” In re Katz Interactive Call Processing Patent

 Litig., 639 F.3d 1303, 1318 (Fed. Cir. 2011).

        G.      “INPUT IMAGE PIXEL”

        Defendants’ proposed construction is not supported by the intrinsic evidence. Defendants

 misapprehend Lone Star’s argument and also the teaching of the ‘435 Patent. At no point did Lone

 Star argue “the pixels do not contain ‘data’.” Response at 11. Instead, Lone Star accurately points

 out that the term “input image pixel” should not include the limitation of “image data” as that

 particular phrase does not appear in the specification. Nor should this Court import other

 limitations into the term “input image pixel” such as “Red, Green, or Blue” or “integer” that are

 disclosed in the specification as embodiments. “Particular embodiments and examples appearing

 in the specification will not generally be read into the claims.” Comark, 156 F.3d at 1187 (quoting


 PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSIVE CLAIM                                                 7
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 Constant, 848 F.2d at 1571); see also Phillips v. AWH Corp., 415 F.3d 1303, 1323 (Fed. Cir. 2005).

 Finally, Defendants’ for the first time in its responsive claim construction brief requests the Court

 “also consider whether that position also renders the claims indefinite, as it is not expected that

 one of ordinary skill would know how to provide light and color from a fractional physical pixel

 that does not fall within one of the rows or columns in the display.” Response at 12. Defendants

 did not disclose this position to Lone Star in its 4-2 or 4-3 disclosures and therefore it is improper

 to raise this argument now.2

          H.       “FORMING  A CORRESPONDING PLURALITY OF OUTPUT IMAGE PIXELS HAVING
                   SAID SELECTED INDIVIDUAL COLOR”

          Defendants’ attempt to create a redundant and confusing construction is at odds with the

 purpose of claim construction. U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1567 (Fed.

 Cir. 1997) (“Claim construction is a matter of resolution of disputed meanings and technical scope,

 to clarify and when necessary to explain what the patentee covered by the claims, for use in the

 determination of infringement. It is not an obligatory exercise in redundancy.”); see also O2 Micro

 Intern. Ltd. v. Beyond Innovation Tech. Co., Ltd., 521 F.3d 1351, 1362 (Fed. Cir. 2008) (“[D]istrict

 courts are not (and should not be) required to construe every limitation present in a patent's asserted

 claims.”) (citing U.S. Surgical, 103 F.3d at 1568).                   Additionally, Defendants overlook the

 beginning of this claim term, which recites the limitations it seeks to import. E.g. Claim 1(d)

 (“determining corresponding output image pixel values for each of said plurality of said input

 image pixels identified as having said selected individual color in the real time digital video input

 image with the hue or the saturation selected to be independently changed.”). Incorporating

 Defendants’ proposed construction into claim 1(D) creates an absurd result.



 2
   Plaintiff objects to, and reserves the right to move to strike, the new positions taken and new constructions offered,
 for the first time, by Defendants in this Responsive Claim Construction Brief.



 PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSIVE CLAIM                                                                      8
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        I.      “BY PERFORMING ARITHMETIC AND LOGICAL OPERATIONS”

        Defendants again misconstrue the teachings of the ‘435 Patent. By performing arithmetic

 and logical operations is used for identifying input image pixels. For example:




        Col. 10, Lns. 25 – 32.

        The above embodiment describes clearly that because either red hue or red saturation was

 selected to be changed that the input image pixels containing red are identified according to

 arithmetic and logical conditions.     Further, and despite Defendants’ misinterpretations, the

 specification discusses “[i]n Step(c), there is identifying a plurality of input images pixels.” Col.

 9, Lns. 34-35. The specification continues to define that arithmetic and logical operations can be

 selected “from the group consisting of addition, subtraction, multiplication, division, equal to,

 greater than, less than, absolute value of, and, combinations thereof.” Col. 9, Lns. 46-51. Finally,

 “[i]t is emphasized that this step is for identifying only, and not for changing or affecting, input

 image pixels.” Col. 9, Lns. 62-63. The specification is describing how input image pixels are

 identified, according to step (c), using arithmetic and logical operations and not for “changing or

 affecting.” Defendants’ argument is non-sensical and against the clear teaching of the ‘435 Patent.

 Defendants cannot cite to any portion of the intrinsic evidence that uses arithmetic and logical

 operations for changing or affecting according to 1(d) – the determining step. Defendants have

 not met their burden to show that the term in indefinite.



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        J.      “EVALUATING” AND “EVALUATED”

        Defendants conclusory statements fail to meet its high burden to prove indefiniteness.

 Moreover, Defendants again overlook the precise teachings of the ‘435 Patent that specifically

 discloses “evaluating” color control functions and provides numerous examples. See, e.g., ’435

 Patent, abstract, 11:41-55, 12:58-13:22,16:11-47, 20:5-38, 23:11-45, 25:16-55 (describing

 evaluating color controls in the context of specific formula and algorithm embodiments).

 Defendants’ position here is particularly confusing when it compares the ‘435 patent disclosures

 to the formula for calculating the diameter of a circle. Response at 23. Defendants’ position

 appears to be that algorithmic disclosures coupled with a design choice creates an indefiniteness

 issue. This is not the standard. Further, Professor Stevenson’s conclusory statements that “the

 specification does not clarify or explain what this ‘evaluation’ means or entails” lacks credibility

 as the specification cites numerous embodiments and specific algorithms for the evaluating

 independent color control functions. Evaluating is used in this fashion consistently throughout the

 specification and is consistent with the claim language in, for example, claim 1(d).

                                      II.     CONCLUSION

        For the reasons set forth above, Lone Star respectfully requests that its proposed claim

 constructions be adopted, and for such other and further relief to which it may show itself entitled.




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 Dated: May 13, 2020                         Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

        I certify this document was filed electronically pursuant to Local Rule CV-5(a) on May 13,

 2020. Pursuant to Local Rule CV-5(a), this electronic filing acts to electronically serve all counsel

 who have consented to electronic service via the Court’s CM/ECF system. Any other counsel of

 record will be served by electronic mail.


                                                               /s/ Bradley D. Liddle




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